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               EXHIBIT 14
3/23/2017                                  University makes comprehensive changes to its sexual misconduct policy ­ The Diamondback
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               University makes comprehensive changes to its sexual misconduct policy
       By (esilvermandbk@gmail.com)
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       After months of revision and discussion, university officials approved comprehensive changes to the sexual misconduct policy and student procedures last
       night, effective immediately.


       Among the largest policy shifts is changes to the sexual misconduct definitions. The procedures also set specific standards for sexual misconduct
       investigations and hearings.


       University President Wallace Loh said the changes have been in talks for years, but mounting national pressure on the issue encouraged officials at this
       university to press forward. The university established a Title IX director and Sexual Misconduct and Relationship Violence office in the spring.


       The new documents reject the University System of Maryland’s definition of “sexual assault,” in which offenses fall into two subcategories: “Sexual Assault I,”
       forcible sexual penetration, and “Sexual Assault II,” groping a person’s intimate parts.


       Loh said labeling unwanted touching as sexual assault trivializes the severity of rape and forced oral sex. The new university policy labels nonconsensual
       contact as “sexual contact,” including unwelcome attempts for sexual intercourse, and “sexual assault” is limited to offenses involving penetration.


       The new policy also defines words that were previously left out, such as “coercion,” “incapacitated” and “dating violence.”


       Officials used specifics to set investigation and hearing procedures. Prior to this new road map, the university had virtually no clear guidelines in place.


       “When I look at the old procedures, they were so informal and unspecific,” Loh said. “The old procedures were not satisfactory.”


       Similar to the old procedures, the Office of Sexual Misconduct and Relationship Violence will aim to resolve all reports of sexual misconduct within 60 days.
       This 60 days includes the investigation, hearing and conviction.


       Each party is given ample notice throughout the investigation and hearing and is told what will happen at each step of the process.


       Five business days in advance of a hearing, each party gives the Sexual Misconduct and Relationship Violence office the names of any individuals
       accompanying them. They are allowed to have a “support person,” “non-attorney advisor” and an “attorney.”


       During the hearing, an attorney is not permitted to cross-examine the complainant. Loh said this is because officials do not want the person to be “re-
       traumatized.”


       “Anyone who has gone through a cross-examination never wants to go through a cross-examination again,” Loh said. “We are trying to provide safeguards
       and to encourage victims to come forward.”


       A Standing Review Committee of five specially trained students, faculty and staff will listen to both sides during the hearing and act as a jury. The committee
       will determine by a simple majority whether a policy violation occurred and what sanctions should be imposed.


       Loh said the policy isn’t without its shortcomings, however. Banning cross-examination and limiting the committee to five people who decide with a
       majority vote can make it easier to find the accused person responsible, according to Loh. Traditional court juries have six to 12 members.


       “The major reason it took so long [to revise these policies and procedures] is because we wanted to strike the right balance between fairness to the accused
       and fairness protection to the survivors,” Loh said.


       As with previous incarnations of the policy and procedures, the most severe punishment is expulsion, though the university president must sign off on the
       sanction.


       “[Sexual misconduct is] a very important problem, we have to measure it, we have to have the right procedures, we have to prevent it from happening, we
       have to have training and we have to impose sanctions,” Loh said, “but at the same time, remembering that in our system of justice we presume people
       innocent.


       Although this policy and student procedures are effective immediately, they are still subject to further review by the University Senate, meaning changes
       can be made. Faculty and staff procedures are still under revision.



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